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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Case No. 3:12-CR-112 JD
                                             )
JOHN HODOWANIAC (01)                         )

                                             ORDER

       No objections have been filed to the magistrate judge’s findings and recommendation upon

a plea of guilty issued on November 16, 2012 [DE 40]. Accordingly, the court now ADOPTS those

findings and recommendations, ACCEPTS defendant John Hodowaniac’s plea of guilty, ACCEPTS

the plea agreement, and FINDS the defendant guilty of Count 1 of the Indictment, in violation of 18

U.S.C. § 844(i).

       SO ORDERED.

       ENTERED: December 5, 2012



                                                    /s/ JON E. DEGUILIO
                                             Judge
                                             United States District Court
